 
    

        
		
        

        
        
        
        
        

        
		
        	
		REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS



    

	
    
	
	
	
		Skip to Main Content
		Accessibility Statement
	
	
		
			
				
					Help
					Contact Us
				
			
			
				
					e-payments
					Careers
				
			
		
	
	
		
			
			
		
		
			
				Home
				Courts
				Decisions
				Programs
				News
				Legal Research
				Court Records
				Quick Links
			
		
	
			
	
		OSCN Found Document:REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2018 OK 37Decided: 05/07/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 37, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

RE: Revocation of Certificates of Certified Shorthand Reporters
ORDER
On February 15, 2018, this Court suspended the certificates of several certified shorthand reporters for failure to comply with the continuing education requirements for calendar year 2017 and/or with the annual certificate renewal requirements for 2018. See 2018 OK 20 (SCAD 2018-17).
The Oklahoma Board of Examiners of Certified Shorthand Reporters has advised that the court reporters listed below continue to be delinquent in complying with the continuing education and/or annual certificate renewal requirements, and the Board has recommended to the Supreme Court of the State of Oklahoma the revocation of the certificate of each of these reporters, effective April 15, 2018, pursuant to 20 O.S., Chapter 20, App. 1, Rules 20 and 23.
IT IS THEREFORE ORDERED that the certificate of each of the certified shorthand reporters named below is hereby revoked effective April 15, 2018.
Lori Byrd CSR #1981
Tara Dale CSR #1409
Kristina Greene CSR #1377
Holly Hurley CSR #1765
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 7TH day of MAY, 2018.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.




	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		

	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
        		
        
		
        		
        
        	
    
